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                                     Exhibit A

                              Proposed Form of Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         )   Chapter 11
                                                               )
Yield10 Bioscience, Inc., et al., 1                            )   Case No. 24-12752 (MFW)
                                                               )
                                    Debtors.                   )   Jointly Administered
                                                               )
                                                               )   Re: __
                                                               )

               ORDER EXTENDING TIME TO FILE SCHEDULES OF ASSETS AND
                 LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         Upon consideration of the motion (the “Motion”)2 of the Debtors for entry of an order

extending the deadline by which the Debtors must file their Schedules and Statements, as more

fully set forth in the Motion; and this Court having jurisdiction to consider the Motion and the

relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order; and this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409;

and due and proper notice of the Motion and the hearing thereon having been given as set forth

in the Motion; and such notice having been adequate and appropriate under the circumstances;

and it appearing that no other or further notice need be provided; and it appearing that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and it

appearing that the relief requested in the Motion is in the best interests of the Debtors, their

estates, and their creditors; and after due deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.       The Motion is GRANTED as set forth herein.


1
 The last four digits of the taxpayer identification numbers of the Debtors follow in parentheses: (i) Yield10
Bioscience, Inc. (x8289), (ii) Yield10 Bioscience Securities Corp. (x7435), and (iii) Yield10 Oilseeds Inc. (Canadian
Business No. x9469).
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         2.     The time within which the Debtors must file their Schedules and Statements is

extended through and including January 6, 2025 (the “Extended Deadline”).

         3.     Entry of this Order is without prejudice to the Debtors’ rights to seek a further

extension of the Extended Deadline.

         4.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, or enforcement of this Order.


Dated: January _____, 2025




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